                          Case 20-10752-abl                Doc 1       Entered 02/10/20 16:29:20                   Page 1 of 21


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEVADA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                JIMENEZ ARMS, INC.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  7380 EASTGATE ROAD, SUITE 150
                                  Henderson, NV 89011
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Clark                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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                           Case 20-10752-abl                  Doc 1        Entered 02/10/20 16:29:20                       Page 2 of 21
Debtor    JIMENEZ ARMS, INC.                                                                           Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor   JIMENEZ ARMS, INC.                                                                        Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

                                                Other     PENDING EVICTION.
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?

                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    JIMENEZ ARMS, INC.                                                                       Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 10, 2020
                                                  MM / DD / YYYY


                             X   /s/ PAUL JIMENEZ, SR.                                                    PAUL JIMENEZ, SR.
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Thomas E. Crowe                                                       Date February 10, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Thomas E. Crowe
                                 Printed name

                                 THOMAS E. CROWE PROFESSIONAL LAW CORPORATION
                                 Firm name

                                 2830 S. JONES BLVD, SUITE 3
                                 Las Vegas, NV 89146
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (702) 794-0373                Email address      tcrowe@thomascrowelaw.com

                                 3048 NV
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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 Fill in this information to identify the case:

 Debtor name         JIMENEZ ARMS, INC.

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          February 10, 2020                       X /s/ PAUL JIMENEZ, SR.
                                                                       Signature of individual signing on behalf of debtor

                                                                       PAUL JIMENEZ, SR.
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name         JIMENEZ ARMS, INC.

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $4,611.68         $0.00
           NEVADA DEPARTMENT OF                                      Check all that apply.
           TAXATION                                                     Contingent
           1550 COLLEGE PARKWAY, SUITE                                  Unliquidated
           115                                                          Disputed
           Carson City, NV 89706-7937
           Date or dates debt was incurred                           Basis for the claim:
           9/2019                                                    TAXES OWED

           Last 4 digits of account number 1443                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                     $19,825.19          $19,825.19
           NEVADA DEPT. OF EMPLOYMENT                                Check all that apply.
           TRAINING AND                                                 Contingent
           2800 E. ST. LOUIS AVE.                                       Unliquidated
           Las Vegas, NV 89104                                          Disputed

           Date or dates debt was incurred                           Basis for the claim:
           9/10/2019                                                 UNEMPLOYMENT TAXES OWED

           Last 4 digits of account number 8800                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 7
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 Debtor       JIMENEZ ARMS, INC.                                                                              Case number (if known)
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                $900,000.00    $0.00
           UNITED STATES TREAASURY                                   Check all that apply.
           (EXCISE TAX)                                                 Contingent
           ALCOHOL AND TOBACCO TAX                                      Unliquidated
           AND TRADE BUREAU                                             Disputed
           1500 PENNSYVANIA AVE. N.W.
           Washington, DC 20220
           Date or dates debt was incurred                           Basis for the claim:
           3/2015                                                    TAXES OWED
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.               $1,031.00
           AZURE CREATIVE ENTERPRISES                                                  Contingent
           P.O. BOX 1888                                                               Unliquidated
           Claremont, CA 91711                                                         Disputed
           Date(s) debt was incurred 7/15/2019
                                                                                   Basis for the claim:     VENDOR/ADVERTISING
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.               $2,160.00
           CAL-AMMO, INC.                                                              Contingent
           14159 BUSINESS CENTER DR.                                                   Unliquidated
           Moreno Valley, CA 92553                                                     Disputed
           Date(s) debt was incurred 5/30/2019
                                                                                   Basis for the claim:     BUSINESS VENDOR
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.           $625,000.00
           CARL WAYNE ORR
           C/O PHENIX & CRUMP, PLLC                                                    Contingent
           ATTN: J.R. "RUSTY" PHENIX                                                   Unliquidated
           P.O. BOX 1005                                                               Disputed
           Henderson, TX 75654
                                                                                   Basis for the claim:     LAWSUIT SETTLEMENT
           Date(s) debt was incurred 12/2017
           Last 4 digits of account number 5388                                    Is the claim subject to offset?     No       Yes


 3.4       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.               $2,858.32
           CENTENNIAL SPRING CO.                                                       Contingent
           1777 W. ARROW RTE. UNIT 410                                                 Unliquidated
           Upland, CA 91786                                                            Disputed
           Date(s) debt was incurred 5/9/2019
                                                                                   Basis for the claim:     VENDOR
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.5       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.               Unknown
           CITY OF KANSAS CITY, MI                                                     Contingent
           415 EAST 12TH STREET                                                        Unliquidated
           (CIRCUIT DIVISION)                                                          Disputed
           Kansas City, MO 64106
                                                                                   Basis for the claim:     LAWSUIT
           Date(s) debt was incurred 1/7/2020
           Last 4 digits of account number 0829                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 2 of 7
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 Debtor       JIMENEZ ARMS, INC.                                                                      Case number (if known)
              Name

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          CLARK COUNTY ASSESSOR
          C/O BANKRUPTCY CLERK                                                  Contingent
          500 SOUTH GRAND CENTRAL PARKWAY                                       Unliquidated
          P.O. BOX 551401                                                       Disputed
          Las Vegas, NV 89155-1401
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          CLARK COUNTY TREASURER
          C/O BANKRUPTCY CLERK                                                  Contingent
          500 S. GRAND CENTRAL PKWY                                             Unliquidated
          P.O. BOX 551220                                                       Disputed
          Las Vegas, NV 89155-1220
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,000.00
          COAST CUTTERS CO, INC.                                                Contingent
          105 NORTH 9TH AVE.                                                    Unliquidated
          Upland, CA 91786                                                      Disputed
          Date(s) debt was incurred 10/2019
                                                                             Basis for the claim:    VENDOR
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,825.00
          COMPUTED TOOL & DIE                                                   Contingent
          2910 E. RICKER WAY                                                    Unliquidated
          Anaheim, CA 92806                                                     Disputed
          Date(s) debt was incurred 6/4/2019
                                                                             Basis for the claim:    VENDOR
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          DEPT. OF EMPLOYMENT, TRAINING &
          REHAB                                                                 Contingent
          EMPLOYMENT SECURITY DIVISION                                          Unliquidated
          500 EAST THIRD STREET                                                 Disputed
          Carson City, NV 89713
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          ESTATE OF ALVINO DWIGHT CRAWFORD
          SHAMBERG, JOHNSON & BERGMAN                                           Contingent
          ATTN: DAVID R. MORANTZ, ESQ.                                          Unliquidated
          2600 GRAND BLVD., SUITE 550                                           Disputed
          Kansas City, MO 64108
                                                                             Basis for the claim:    PENDING LAWSUIT
          Date(s) debt was incurred 6/24/2019
          Last 4 digits of account number 7245                               Is the claim subject to offset?     No       Yes


 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,000.00
          FOLAND, WICKENS, ROPER, HOFER                                         Contingent
          &CRAWFORD                                                             Unliquidated
          1200 MAIN, SUITE 2200                                                 Disputed
          Kansas City, MO 64105
                                                                             Basis for the claim:    ATTORNEY FEES FOR CRAWFORD CASE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 3 of 7
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 Debtor       JIMENEZ ARMS, INC.                                                                      Case number (if known)
              Name

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $75,000.00
          GENSKE, MULDER COMPANY LLP                                            Contingent
          3187 RED HILL AVE. #110                                               Unliquidated
          Costa Mesa, CA 92626                                                  Disputed
          Date(s) debt was incurred 2015
                                                                             Basis for the claim:    ACCOUNTING FEES
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          HARSCH INVESTMENTS PROPERTIES - NV,                                   Contingent
          LLC                                                                   Unliquidated
                                                                                Disputed
          Henderson, NV 89011
                                                                             Basis for the claim:    BUSINESS LEASE
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $48,000.00
          IDCI                                                                  Contingent
          14733 S. AVALON BLVD.                                                 Unliquidated
          Gardena, CA 90248                                                     Disputed
          Date(s) debt was incurred 3/15/2019
                                                                             Basis for the claim:    VENDOR
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          INTELLIGENT DESIGN I.T. CONSULTING                                    Contingent
          631 NORTH STEPHANIE STREET #345                                       Unliquidated
          Henderson, NV 89014                                                   Disputed
          Date(s) debt was incurred 10/2018
                                                                             Basis for the claim:    IT/COMPUTER EXPENSE
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          INTERNAL REVENUE SERVICE                                              Contingent
          P.O. BOX 7346                                                         Unliquidated
          Philadelphia, PA 19101-7346                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $421,579.41
          INTERNAL REVENUE SERVICE                                              Contingent
          P.O. BOX 7346                                                         Unliquidated
          Philadelphia, PA 19101-7346                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    PAYROLL TAX
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,640.00
          JA INDUSTRIES, LLC                                                    Contingent
          43 DESERT SUNFLOWER CIRCLE                                            Unliquidated
          Henderson, NV 89002                                                   Disputed
          Date(s) debt was incurred 6/20/2019
                                                                             Basis for the claim:    MONEY LOANED/VENDOR
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 4 of 7
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 Debtor       JIMENEZ ARMS, INC.                                                                      Case number (if known)
              Name

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,025.00
          JENNISON ENGINEERING, INC.                                            Contingent
          13546 CENTRAL AVE., UNIT E.                                           Unliquidated
          Chino, CA 91710                                                       Disputed
          Date(s) debt was incurred 12/2019
                                                                             Basis for the claim:    VENDOR
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $100.00
          MJO ENTERPRISES                                                       Contingent
          38 PHILLIPSBURG                                                       Unliquidated
          Irvine, CA 92620                                                      Disputed
          Date(s) debt was incurred      8/22/2018                           Basis for the claim:    VENDOR
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          NEVADA DEPARTMENT OF MOTOR                                            Contingent
          VEHICLES                                                              Unliquidated
          2621 E. SAHARA AVE.                                                   Disputed
          Las Vegas, NV 89104
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          NEVADA DEPT. OF TAXATION
          BANKRUPTCY SECTION                                                    Contingent
          555 EAST WASHINGTON AVENUE                                            Unliquidated
          SUITE 1300                                                            Disputed
          Las Vegas, NV 89101
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,900.00
          PAUL JIMENEZ JR.                                                      Contingent
          43 DESERT SUNFLOWER CIRCLE                                            Unliquidated
          Henderson, NV 89002                                                   Disputed
          Date(s) debt was incurred 10/2019
                                                                             Basis for the claim:    MONEY LOANED
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,000.00
          PAUL JIMENEZ, SR.                                                     Contingent
          43 DESERT SUNFLOWER CIRCLE                                            Unliquidated
          Henderson, NV 89002                                                   Disputed
          Date(s) debt was incurred 6/2019
                                                                             Basis for the claim:    MONEY LOANED
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,100.00
          PENTRATE METAL PROCESSING                                             Contingent
          3517 EAST OLYMPIC BLVD.                                               Unliquidated
          Los Angeles, CA 90023                                                 Disputed
          Date(s) debt was incurred 10/2019
                                                                             Basis for the claim:    VENDOR
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 5 of 7
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 Debtor       JIMENEZ ARMS, INC.                                                                      Case number (if known)
              Name

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          PORTER LAW FIRM, A PROFESSIONAL                                       Contingent
          CORP.                                                                 Unliquidated
          3311 WOODS BLVD.                                                      Disputed
          Tyler, TX 75707
                                                                             Basis for the claim:    ATTORNEY FEES FOR ORR CASE
          Date(s) debt was incurred 2015
          Last 4 digits of account number 5388                               Is the claim subject to offset?     No       Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          PRAXAIR                                                               Contingent
          2301 SE CREEKVIEW DR.                                                 Unliquidated
          Ankeny, IA 50021                                                      Disputed
          Date(s) debt was incurred 7/22/2019
                                                                             Basis for the claim:    VENDOR
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $988.26
          RBC PRECISION PRODUCTS-BREMEN                                         Contingent
          225 INDUSTRIAL DR.                                                    Unliquidated
          Bremen, IN 46506                                                      Disputed
          Date(s) debt was incurred 11/2019
                                                                             Basis for the claim:    VENDOR
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $40,000.00
          SIERRA WESTERN                                                        Contingent
          3765 MAUNA LOA ST.                                                    Unliquidated
          Brea, CA 92823                                                        Disputed
          Date(s) debt was incurred 5/2016
                                                                             Basis for the claim:    VENDOR
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          SOCIAL SECURITY ADMINISTRATION
          OFFICE OF THE REGIONAL CHIEF
          COUNSEL                                                               Contingent
          REGION IX                                                             Unliquidated
          160 SPEAR STREET, SUITE 800                                           Disputed
          San Francisco, CA 94105-1545
                                                                             Basis for the claim:    NOTICE ONLY
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,903.22
          SUNSTATE EQUIPMENT
          C/O CONSTRUCTION COLLECTION                                           Contingent
          SPECIALISTS,                                                          Unliquidated
          P.O.BOX 44500                                                         Disputed
          Phoenix, AZ 85064-4500
                                                                             Basis for the claim:    COLLECTIONS
          Date(s) debt was incurred 7/2019
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          TOTAL ECLIPSE GROUP, LTD                                              Contingent
          FLAT 8 16/F BLOCK A                                                   Unliquidated
          34-36AU PUI WAN STREET                                                Disputed
          FO TAN SHATIN N.T. HONG KONG
                                                                             Basis for the claim:    VENDOR
          Date(s) debt was incurred 8/2013
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       JIMENEZ ARMS, INC.                                                                      Case number (if known)
              Name

 3.34      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                       $0.00
           UNITED STATES TRUSTEE                                                Contingent
           300 LAS VEGAS BLVD., SOUTH #4300                                     Unliquidated
           Las Vegas, NV 89101                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    NOTICE ONLY
           Last 4 digits of account number
                                                                             Is the claim subject to offset?         No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any
 4.1       500 E. THIRD ST.
           Carson City, NV 89713                                                                      Line     2.2

                                                                                                             Not listed. Explain

 4.2       BILLY RA SOAPE AND LINDA JEAN SOAPE
           C/O PHENIX & CRUMP, PLLC                                                                   Line     3.3
           ATTN: J.R. "RUSTY" PHENIX
                                                                                                             Not listed. Explain
           P.O. BOX 1005
           Henderson, TX 75654

 4.3       EVERYTOWN LAW
           P.O. BOX #4184                                                                             Line     3.11
           New York, NY 10017
                                                                                                             Not listed. Explain

 4.4       NEVADA DEPT OF TAXATION
           2550 PASEO VERDE PARKWAY,SUITE #180                                                        Line     3.23                                   4325
           Henderson, NV 89074
                                                                                                             Not listed. Explain

 4.5       THE ESTATE OF MELINDA ANN ORR
           C/O PHENIX & CRUMP, PLLC                                                                   Line     3.3
           ATTN: J.R. "RUSTY" PHENIX
                                                                                                             Not listed. Explain
           P.O. BOX 1005
           Henderson, TX 75654


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                     924,436.87
 5b. Total claims from Part 2                                                                            5b.    +     $                   1,398,110.21

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.          $                      2,322,547.08




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 7 of 7
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 Fill in this information to identify the case:

 Debtor name         JIMENEZ ARMS, INC.

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.        State what the contract or                   BUSINESS LEASE FOR
             lease is for and the nature of               BUSINESS - REJECT
             the debtor's interest                        FIVE YEAR LEASE

                  State the term remaining                FIVE YEARS

             List the contract number of any                                          HARSCH INVESTMENTS PROPERTIES - NV, LLC
                   government contract       N/A                                      Henderson, NV 89011




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         JIMENEZ ARMS, INC.

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                       Name                        Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code




Official Form 206H                                                               Schedule H: Your Codebtors                                   Page 1 of 1
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                             District of Nevada
 In re       JIMENEZ ARMS, INC.                                                                               Case No.
                                                                                    Debtor(s)                 Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     3,700.00
             Prior to the filing of this statement I have received                                        $                     3,700.00
             Balance Due                                                                                  $                         0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                             CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     February 10, 2020                                                              /s/ Thomas E. Crowe
     Date                                                                           Thomas E. Crowe
                                                                                    Signature of Attorney
                                                                                    THOMAS E. CROWE PROFESSIONAL LAW
                                                                                    CORPORATION
                                                                                    2830 S. JONES BLVD, SUITE 3
                                                                                    Las Vegas, NV 89146
                                                                                    (702) 794-0373 Fax: (702) 794-0734
                                                                                    tcrowe@thomascrowelaw.com
                                                                                    Name of law firm




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                                                               United States Bankruptcy Court
                                                                             District of Nevada
 In re      JIMENEZ ARMS, INC.                                                                         Case No.
                                                                                    Debtor(s)          Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       February 10, 2020                                           /s/ PAUL JIMENEZ, SR.
                                                                         PAUL JIMENEZ, SR./President
                                                                         Signer/Title




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                  JIMENEZ ARMS, INC.
                  7380 EASTGATE ROAD, SUITE 150
                  Henderson, NV 89011

                  Thomas E. Crowe
                  THOMAS E. CROWE PROFESSIONAL LAW CORPORATION
                  2830 S. JONES BLVD, SUITE 3
                  Las Vegas, NV 89146

                  500 E. THIRD ST.
                  Acct No 8800
                  Carson City, NV 89713


                  AZURE CREATIVE ENTERPRISES
                  P.O. BOX 1888
                  Claremont, CA 91711

                  BILLY RA SOAPE AND LINDA JEAN SOAPE
                  Acct No xxx5-388
                  C/O PHENIX & CRUMP, PLLC
                  ATTN: J.R. "RUSTY" PHENIX
                  P.O. BOX 1005
                  Henderson, TX 75654

                  CAL-AMMO, INC.
                  14159 BUSINESS CENTER DR.
                  Moreno Valley, CA 92553

                  CARL WAYNE ORR
                  Acct No xxx5-388
                  C/O PHENIX & CRUMP, PLLC
                  ATTN: J.R. "RUSTY" PHENIX
                  P.O. BOX 1005
                  Henderson, TX 75654

                  CENTENNIAL SPRING CO.
                  1777 W. ARROW RTE. UNIT 410
                  Upland, CA 91786

                  CITY OF KANSAS CITY, MI
                  Acct No xxxx-xxx0829
                  415 EAST 12TH STREET
                  (CIRCUIT DIVISION)
                  Kansas City, MO 64106

                  CLARK COUNTY ASSESSOR
                  C/O BANKRUPTCY CLERK
                  500 SOUTH GRAND CENTRAL PARKWAY
                  P.O. BOX 551401
                  Las Vegas, NV 89155-1401
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              CLARK COUNTY TREASURER
              C/O BANKRUPTCY CLERK
              500 S. GRAND CENTRAL PKWY
              P.O. BOX 551220
              Las Vegas, NV 89155-1220

              COAST CUTTERS CO, INC.
              105 NORTH 9TH AVE.
              Upland, CA 91786

              COMPUTED TOOL & DIE
              2910 E. RICKER WAY
              Anaheim, CA 92806

              DEPT. OF EMPLOYMENT, TRAINING & REHAB
              EMPLOYMENT SECURITY DIVISION
              500 EAST THIRD STREET
              Carson City, NV 89713

              ESTATE OF ALVINO DWIGHT CRAWFORD
              Acct No xxxx-xxx7245
              SHAMBERG, JOHNSON & BERGMAN
              ATTN: DAVID R. MORANTZ, ESQ.
              2600 GRAND BLVD., SUITE 550
              Kansas City, MO 64108

              EVERYTOWN LAW
              Acct No xxxx-xxx7245
              P.O. BOX #4184
              New York, NY 10017

              FOLAND, WICKENS, ROPER, HOFER &CRAWFORD
              1200 MAIN, SUITE 2200
              Kansas City, MO 64105

              GENSKE, MULDER COMPANY LLP
              3187 RED HILL AVE. #110
              Costa Mesa, CA 92626

              HARSCH INVESTMENTS PROPERTIES - NV, LLC
              Henderson, NV 89011


              IDCI
              14733 S. AVALON BLVD.
              Gardena, CA 90248

              INTELLIGENT DESIGN I.T. CONSULTING
              631 NORTH STEPHANIE STREET #345
              Henderson, NV 89014

              INTERNAL REVENUE SERVICE
              P.O. BOX 7346
              Philadelphia, PA 19101-7346
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              JA INDUSTRIES, LLC
              43 DESERT SUNFLOWER CIRCLE
              Henderson, NV 89002

              JENNISON ENGINEERING, INC.
              13546 CENTRAL AVE., UNIT E.
              Chino, CA 91710

              MJO ENTERPRISES
              38 PHILLIPSBURG
              Irvine, CA 92620

              NEVADA DEPARTMENT OF MOTOR VEHICLES
              2621 E. SAHARA AVE.
              Las Vegas, NV 89104

              NEVADA DEPARTMENT OF TAXATION
              Acct No xxxx xx. xx1443
              1550 COLLEGE PARKWAY, SUITE 115
              Carson City, NV 89706-7937

              NEVADA DEPT OF TAXATION
              Acct No 4325
              2550 PASEO VERDE PARKWAY,SUITE #180
              Henderson, NV 89074

              NEVADA DEPT. OF EMPLOYMENT TRAINING AND
              Acct No 8800
              2800 E. ST. LOUIS AVE.
              Las Vegas, NV 89104

              NEVADA DEPT. OF TAXATION
              BANKRUPTCY SECTION
              555 EAST WASHINGTON AVENUE
              SUITE 1300
              Las Vegas, NV 89101

              PAUL JIMENEZ JR.
              43 DESERT SUNFLOWER CIRCLE
              Henderson, NV 89002

              PAUL JIMENEZ, SR.
              43 DESERT SUNFLOWER CIRCLE
              Henderson, NV 89002

              PENTRATE METAL PROCESSING
              3517 EAST OLYMPIC BLVD.
              Los Angeles, CA 90023

              PORTER LAW FIRM, A PROFESSIONAL CORP.
              Acct No xxx5-388
              3311 WOODS BLVD.
              Tyler, TX 75707
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              PRAXAIR
              2301 SE CREEKVIEW DR.
              Ankeny, IA 50021

              RBC PRECISION PRODUCTS-BREMEN
              225 INDUSTRIAL DR.
              Bremen, IN 46506

              SIERRA WESTERN
              3765 MAUNA LOA ST.
              Brea, CA 92823

              SOCIAL SECURITY ADMINISTRATION
              OFFICE OF THE REGIONAL CHIEF COUNSEL
              REGION IX
              160 SPEAR STREET, SUITE 800
              San Francisco, CA 94105-1545

              SUNSTATE EQUIPMENT
              C/O CONSTRUCTION COLLECTION SPECIALISTS,
              P.O.BOX 44500
              Phoenix, AZ 85064-4500

              THE ESTATE OF MELINDA ANN ORR
              Acct No xxx5-388
              C/O PHENIX & CRUMP, PLLC
              ATTN: J.R. "RUSTY" PHENIX
              P.O. BOX 1005
              Henderson, TX 75654

              TOTAL ECLIPSE GROUP, LTD
              FLAT 8 16/F BLOCK A
              34-36AU PUI WAN STREET
              FO TAN SHATIN N.T. HONG KONG

              UNITED STATES TREAASURY (EXCISE TAX)
              ALCOHOL AND TOBACCO TAX AND TRADE BUREAU
              1500 PENNSYVANIA AVE. N.W.
              Washington, DC 20220

              UNITED STATES TRUSTEE
              300 LAS VEGAS BLVD., SOUTH #4300
              Las Vegas, NV 89101
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                                                               United States Bankruptcy Court
                                                                             District of Nevada
 In re      JIMENEZ ARMS, INC.                                                                              Case No.
                                                                                    Debtor(s)               Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for JIMENEZ ARMS, INC. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 February 10, 2020                                                      /s/ Thomas E. Crowe
 Date                                                                   Thomas E. Crowe
                                                                        Signature of Attorney or Litigant
                                                                        Counsel for JIMENEZ ARMS, INC.
                                                                        THOMAS E. CROWE PROFESSIONAL LAW CORPORATION
                                                                        2830 S. JONES BLVD, SUITE 3
                                                                        Las Vegas, NV 89146
                                                                        (702) 794-0373 Fax:(702) 794-0734
                                                                        tcrowe@thomascrowelaw.com




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